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                           UNITED STATES COURT OF APPEALS            FILED
                                  FOR THE NINTH CIRCUIT               FEB 18 2020
                                                                  MOLLY C. DWYER, CLERK
                                                                   U.S. COURT OF APPEALS
  CHEAP EASY ONLINE TRAFFIC                     No. 19-55055
  SCHOOL; et al.,
                                                D.C. No. 3:16-cv-02644-WQH-MSB
                       Plaintiffs-Appellants,   Southern District of California,
                                                San Diego
    v.
                                                ORDER
  PETER L. HUNTTING & CO., INC.; et al.,

                       Defendants-Appellees.


  CHEAP EASY ONLINE TRAFFIC                     No. 19-55653
  SCHOOL; et al.,
                                                D.C. No. 3:16-cv-02644-WQH-MSB
                       Plaintiffs-Appellees,

    v.

  PETER L. HUNTTING & CO., INC.;
  ESTATE OF PETER L. HUNTTING,

                       Defendants-Appellants,

  and

  SMI PENSIONS; et al.,

                       Defendants.




  tah/2.10.20/Pro Mo
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  CHEAP EASY ONLINE TRAFFIC                         No. 19-55654
  SCHOOL; et al.,
                                                    D.C. No. 3:16-cv-02644-WQH-MSB
                       Plaintiffs-Appellees,

    v.

  SMI PENSIONS; et al.,

                       Defendants-Appellants,

  and

  PETER L. HUNTTING & CO., INC.; et al.,

                       Defendants.

          The joint motion (Docket Entry No. 43) of SMI Pensions, et al. and Peter L.

  Huntting & Co., Inc., et al. to consolidate Nos. 19-55055, 19-55653, and 19-55654

  is granted. These cases will be calendared before the same panel assigned to

  consider the merits of the appeals.


                                                    FOR THE COURT:

                                                    MOLLY C. DWYER
                                                    CLERK OF COURT

                                                    By: Terri Haugen
                                                    Deputy Clerk
                                                    Ninth Circuit Rule 27-7




  tah/2.10.20/Pro Mo                            2                              19-55055
